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 6                        UNITED STATES DISTRICT COURT
 7
                         CENTRAL DISTRICT OF CALIFORNIA
 8
 9   JACK HILL,                              ) CIVIL NO. 5:20-cv-00877-PVC
10       Plaintiff,                          )
                                             )
11
                 vs.                         ) JUDGMENT
12                                           )
13
     ANDREW SAUL,                            )
     Commissioner of Social Security,        )
14                                           )
15         Defendant.                        )
                                             )
16
17
           The Court hereby approves the parties’ Stipulation to Voluntary Remand
18
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
19
     (“Stipulation to Remand”) lodged concurrent with this Judgment of Remand, IT IS
20
     HEREBY ORDERED, ADJUDGED AND DECREED that the above-captioned
21
     action is remanded to the Commissioner of Social Security for further proceedings
22
     consistent with the Stipulation to Remand.
23
24
25   DATED: October 21, 2020
                                           HONORABLE
                                            ONORABLE PEDRO V. CASTILLO
26                                         UNITED STATES MAGISTRATE JUDGE
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